
904 N.E.2d 665 (2009)
In the Matter of Ruben AUGERMARCHAND, Respondent.
No. 49S00-0902-DI-53.
Supreme Court of Indiana.
April 24, 2009.

PUBLISHED ORDER OF INTERIM SUSPENSION UPON NOTICE OF GUILTY FINDING
The Indiana Supreme Court Disciplinary Commission, pursuant to Indiana Admission and Discipline Rule 23(1 l.l)(a), files a "Verified Notice of Guilty Finding and Request for Suspension," asking that Respondent be immediately suspended from the practice of law in this State, pending further order of this Court or final resolution of any resulting disciplinary action, due to Respondent being found guilty of a crime punishable as a felony.
The Court, being duly advised and upon careful consideration of all materials submitted, now finds that Respondent has been found guilty of one count of Transportation of Child Pornography, a felony under 18 U.S.C. § 2252(a)(1).
IT IS THEREFORE ORDERED that Respondent is suspended pendente lite from the practice of law in this State, effective fifteen (15) days from the date of this order. Respondent is ordered to fulfill the duties of a suspended attorney under Admission and Discipline Rule 23(26). The suspension shall continue until further order of this Court or final resolution of any resulting disciplinary action.
All Justices concur.
